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11   Attorneys for Plaintiff Ashlee Whitaker

12

13                       UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA
15

16   ASHLEE WHITAKER, on behalf of             )
     herself and all others similarly          )   CASE NO. 13-cv-03145-L-NLS
17
     situated,                                 )
18                                             )   MOTION TO COMPEL
           Plaintiff,                          )   ANSWERS TO PLAINTIFF’S
19
                                               )   SPECIAL
20   vs.                                       )   INTERROGATORIES AND
                                               )   REQUESTS FOR
21
     BENNETT LAW, PLLC, a                      )   PRODUCTION
22   Professional Limited Liability            )
     Company, dba BENNETT LAW,                 )   Mag. Judge: Hon. Nita L. Stormes
23
                                               )   Motion Date: May 19, 2015
24         Defendant.                          )   No Oral Argument Unless Requested by
                                               )   the Court
25

26
27

28                                         MOTION TO COMPEL ANSWERS TO PLAINTIFF’S
                             SPECIAL INTERROGATORIES AND REQUESTS FOR PRODUCTION
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 1
        I.     Introduction and Statement of Facts

 2      This Class Action lawsuit arises out of claims that Defendant Bennett Law,
 3
     PLLC (“Defendant” or “Bennett Law”) violated Plaintiff Ashlee Whitaker’s
 4

 5   (“Plaintiff”) rights under the Telephone Consumer Protection Act, 14 U.S.C. §

 6   227, et seq, and those of her fellow class members. Plaintiff filed her suit in May of
 7
     2014. [Dkt. No. 1.] Since that time, Defendant has not responded to a solitary
 8

 9   filing in Plaintiff’s lawsuit. As a result, Plaintiff successfully moved for class

10   certification and, subsequently, requested default. [Dkt. No. 9.]
11
        This Court granted Plaintiff’s request for default judgment, but because no
12

13   discovery has taken place due to the non- appearance of Defendant, held “in

14   abeyance the motion with respect to damages”. [Dkt. No. 14 at 1.] The Order
15
     stated: “This judgment will be supplemented with the actual amount of damages at
16

17   a later date, once the number of calls has been ascertained.” [Id. at 8.] In that

18   Order, the Court permitted Plaintiff six months to conduct discovery, including
19
     third party discovery, “to determine the appropriate amount of damages to be
20

21   awarded against Bennett Law”. [Id. at 8.]
22      Immediately following this Order, Plaintiff sent discovery requests to
23
     Defendant requesting this information. [See Declaration of Kira M. Rubel, “Decl.
24

25   Rubel” ¶ 2.] However, as seems to be Defendant’s modus operandi, it continues
26
27                                              2
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 1
     to completely ignore this lawsuit, including its discovery obligations under the

 2   Federal Rules. [Decl. Rubel ¶ 4.]
 3
        Plaintiff’s Motion is simple. She is entitled to responses to her discovery
 4

 5   requests. On February 10, 2015, Ms. Whitaker sent three copies of her special

 6   interrogatories and requests for production by U.S. Mail. [Decl. Rubel ¶ 3,
 7
     Exhibits A, B, “Exh.”] She tracked these packages to their destination, and has
 8

 9   proof that they were delivered to Defendant at all three addresses. [Decl. Rubel ¶

10   3., Exh. C.] Defendant’s responses were due March 17, 2015. [Decl. Rubel ¶ 4.]
11
     This deadline came and went without any responses served. [Decl. Rubel ¶ 4.]
12

13      Plaintiff’s counsel is mindful of Lead Plaintiff’s obligations to obtain the

14   number of calls made by Defendant, even in spite of Defendant’s lack of
15
     cooperation. Thus, Plaintiff has also sent subpoenas to five of the major
16

17   autodialing companies that ordinarily support the calling efforts of debt collection

18   companies such as Bennett Law. Plaintiff’s counsel anticipates that Defendant
19
     used one or more of these companies to engage in its illegal dialing campaign and
20

21   that one of these subpoenas will bear fruit by providing the class list. [Decl. Rubel
22   ¶ 6.]
23
        Regardless of her “back-up plan”, Plaintiff is also entitled to responses to her
24

25   discovery requests. In accordance with the Court’s meet and confer requirements,
26   Plaintiff’s counsel sent a meet and confer letter on April 1, 2015 to Defendant’s
27                                             3
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 1
     three addresses, again using tracking technology. [Decl. Rubel ¶ 5., Exh. E.] This

 2   deadline to respond has long since passed, and Plaintiff is left with no choice but to
 3
     bring this Motion to Compel. Plaintiff also seeks sanctions for the time her
 4

 5   counsel have spent pursuing responses to her discovery requests. [Decl. Rubel ¶ 7.]

 6      II.   The Rules Support Granting Plaintiff’s Motion to Compel.
 7      Federal Rule of Civil Procedure 37(a)(2)(B) states that a party who has failed to

 8   respond to special interrogatories and requests for production under Rules 33 and
 9
     34, respectively, may be compelled to produce the answers and documents upon
10

11   motion to the Court. Defendant has failed utterly to abide by its discovery

12   obligations, a fault made worse by the fact that Defendant is a law firm. Defendant
13
     is aware of its obligations under the discovery rules and therefore must be
14

15   compelled to produce responses.

16      Plaintiff is aware of this Court’s requirement that each request and contested
17
     response be set forth. However, given the fact that there were no responses at all,
18
19   Plaintiff is instead attaching the full draft of her Special Interrogatories, Set One,
20   and Requests for Production of Documents, Set One, to her Motion. [Decl. Rubel
21
     ¶ 2, Exh. A, B, C.]
22

23      The situation before this Court – a tacit failure to respond – is the most
24   egregious kind of discovery abuse. It is so egregious, that the Court is permitted to
25
     take devastating measures in response by striking any claims or defenses the non-
26
27                                              4
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 1
     answering party asserted. Webster v. Dep't of Veterans Affairs, 2014 WL 23785, *

 2   1 (9th Cir. Jan. 2, 2014).
 3
        However, this is a unique situation in that Defendant has already defaulted of its
 4

 5   own accord, and has no answer on file to strike. Thus, the only request Plaintiff

 6   may make here is that the Court compel Defendant to respond and order it to pay
 7
     sanctions, as discussed below.
 8

 9      Defendant’s refusal to participate – and it may only be called “refusal” since the

10   documents Plaintiff sent reached Defendant’s published address – can only be
11
     deemed willful. Plaintiff’s counsel went out of her way to send multiple sets of
12

13   discovery to all of Defendant’s known addresses. She even sent one set directly to

14   the address of Defendant’s owner, Michael Bennett. Mr. Bennett is an attorney,
15
     and his address was found on the Utah State Bar website, which is updated every
16

17   January.

18      Rule 8.4, subpart (d), of the State of Utah’s Rules of Professional Conduct
19
     states that an attorney engages in misconduct if that attorney’s conduct “is
20

21   prejudicial to the administration of justice”. An Order from this Court that
22   Defendant has not produced the discovery responses could qualify as “misconduct”
23
     under the Utah State Bar’s ethical rules. Plaintiff is hopeful that this pressure,
24

25   perhaps through the Utah bar regulatory agency, may induce Defendant to
26   cooperate in discovery here.
27                                                5
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 2      III. Sanctions Must be Granted Where Discovery Requests Are Totally
 3           Ignored.
        Reimbursement of the moving party’s attorneys’ fees and costs is also permitted
 4

 5   under Rule 37, subparts (a)(4)(A) and (d)(1)(A)(ii). In fact, when a party

 6   completely fails to respond to discovery requests under Rule 33 and 34, subpart
 7
     (a)(4)(A) states:
 8

 9         If the motion is granted—or if the disclosure or requested discovery is
           provided after the motion was filed—the court must, after giving an
10         opportunity to be heard, require the party or deponent whose conduct
11         necessitated the motion, the party or attorney advising that conduct, or both
           to pay the movant's reasonable expenses incurred in making the motion,
12         including attorney's fees.
13         Fed. R. Civ. Proc 37(a)(4)(A) (emphasis added.)

14      Relevant Ninth Circuit case law confirms this Rule. Henry v. Gill Industries,
15
     Inc., 983 F.2d 943, 945(9th Cir. 1993). Therefore, Plaintiff’s counsel requests
16

17   $4,950.00 to make them whole for their time, as described in the attached

18   declaration. [Decl. Rubel ¶ 7.]
19
        IV.    Conclusion
20

21      This Motion and the underlying facts are crystal clear. Defendant hopes that
22   ignoring this lawsuit will make it go away, so that it can continue its unlawful debt
23
     collection practice. This cannot and should not be permitted. For the foregoing
24

25   reasons, Plaintiff respectfully requests that this Court grant her Motion to Compel
26   and request for sanctions in the amount of $4,950.00.
27                                             6
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 1
                        CERTIFICATE OF COMPLIANCE

 2      The undersigned certifies that she has complied with Local Rule 26.1(a) and
 3
     chamber rules to the extent possible, given the total lack of involvement, and
 4

 5   default of, Defendant.

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                                     ATTORNEYS FOR PLAINTIFF AND THE CLASS
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27                                            7
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